Case 2:04-CV-O2568-BBD-tmp Document 17 Filed 06/06/05 Page 1 of 2 Page|D 23

 
  

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FOR THE wEsTERN DISTRICT oF TENNESS
wEsTERN DIVISION Eé]§ JUH '*5 PM 3= 59
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W.U‘ OF TN, ?‘JT§§MPH!B
JAMES D. CAUSEY, et al.,

Plaintiffs,
vs.

Civ. No. 04-2568-D[P

ENCOMPASS INSURANCE COMPANY
f/k/a CNA,

Defendant.

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ORDER DENYING AS MOOT DEFENDANT'S MOTION TO COMPEL

 

Presently before the court is defendant's Motion to Compel
Discovery, filed on June l, 2005 (Dkt. #15). By letter dated June
6, 2005, defendant informed the court that he has provided
plaintiff with answers to discovery. On that basis, the motion is
DENIED as MOOT.

IT IS SO ORDERED.

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TU"M. PHAM
United States Magistrate Judge

gum (r , PGOJM
Date '

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:04-CV-02568 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

